Case 20-43597          Doc 2028       Filed 12/03/21 Entered 12/03/21 10:06:16                  Main Document
                                                 Pg 1 of 7


                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                    SOUTHEASTERN DIVISION

                                                      §       Chapter 11
 In re:                                               §
                                                      §       Case No. 20-43597-399
 BRIGGS & STRATTON                                    §
 CORPORATION, et al.,                                 §       (Jointly Administered)
                                                      §
                    Debtors.                          §       Related Docket No. 1950

               ORDER SUSTAINING THE PLAN ADMINISTRATOR’S
      TWENTY-SEVENTH OMNIBUS OBJECTION TO CLAIMS (REDUCED CLAIMS)

                    Upon the objection (the “Objection”)1 of the Plan Administrator in the above-

 captioned chapter 11 cases for entry of an order pursuant to section 502(b) of the Bankruptcy Code,

 Bankruptcy Rule 3007(d)(5), and Local Rule 3007(C) modifying the Reduced Claims listed on

 Schedule 1 attached hereto and as more fully set forth in the Objection; and upon the Declaration

 of Alan D. Halperin in Support of the Plan Administrator’s Twenty-Seventh Omnibus Objection to

 Claims (Reduced Claims) (attached to the Objection as Exhibit B); and this Court having

 jurisdiction to consider the Objection and the relief requested therein pursuant to 28 U.S.C. §§ 157

 and 1334; and consideration of the Objection and the requested relief being a core proceeding

 pursuant to 28 U.S.C. § 157(b); and it appearing that venue is proper before this Court pursuant to

 28 U.S.C. §§ 1408 and 1409; and the Plan Administrator having represented that adequate and

 proper notice of the Objection has been given in accordance with the Omnibus Objection

 Procedures; and that no other or further notice need be given; and this Court having reviewed the

 Objection; and this Court having held a hearing to consider the relief requested in the Objection;

 and this Court having determined that the legal and factual bases set forth in the Objection establish

 just cause for the relief granted herein; and it appearing that the relief requested in the Objection


 1
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
     Objection.

                                                          1
Case 20-43597        Doc 2028    Filed 12/03/21 Entered 12/03/21 10:06:16             Main Document
                                            Pg 2 of 7


 is in the best interests of the Plan Administrator and creditors; and upon all of the proceedings had

 before this Court and after due deliberation and sufficient cause appearing therefor, it is hereby

 ORDERED that the Objection is SUSTAINED in that:

                1.      Pursuant to section 502 of the Bankruptcy Code and Bankruptcy Rule 3007,

 each Reduced Claim listed on Schedule 1 annexed hereto is reduced to be consistent with the

 Debtors’ Books and Records.

                2.      The terms and conditions of this Order are effective immediately upon

 entry.

                3.      Nothing contained in the Objection or this Order is intended to be or shall

 be deemed as (i) an admission as to the validity of any claim against the Debtors or the Wind-

 Down Estates, (ii) a waiver of rights to dispute the amount of, basis for, or validity of any claim,

 (iii) a waiver of rights under the Bankruptcy Code or any other applicable nonbankruptcy law,

 (iv) an agreement or obligation to pay any claims, (v) a waiver of any claims or causes of action

 which may exist against any creditor or interest holder, or (vi) an approval, assumption, adoption,

 or rejection of any agreement, contract, lease, program, or policy under section 365 of the

 Bankruptcy Code.

                4.      The Plan Administrator is authorized to take all actions necessary or

 appropriate to carry out the relief granted in this Order.

                5.      Not later than two (2) business days after the date of this Order, the Plan

 Administrator shall serve a copy of the Order and shall file a certificate of service no later than

 twenty-four (24) hours after service.


 DATED: December 3, 2021
 St. Louis, Missouri                                          Barry S. Schermer
 cke                                                          United States Bankruptcy Judge



                                                   2
Case 20-43597    Doc 2028     Filed 12/03/21 Entered 12/03/21 10:06:16   Main Document
                                         Pg 3 of 7


 Order Prepared By:

 Robert E. Eggmann, #37374MO
 Christopher J. Lawhorn, #45713MO
 Thomas H. Riske, #61838MO
 CARMODY MACDONALD P.C.
 120 S. Central Avenue, Suite 1800
 St. Louis, Missouri 63105
 Telephone: (314) 854-8600
 Facsimile: (314) 854-8660
 Email: ree@carmodymacdonald.com
        cjl@carmodymacdonald.com
        thr@carmodymacdonald.com

 Local Counsel to the Plan Administrator

 -and-

 HALPERIN BATTAGLIA BENZIJA LLP
 Julie Dyas Goldberg
 Matthew Murray
 40 Wall Street, 37th Floor
 New York, New York 10005
 Telephone: (212) 765-9100
 Email: jgoldberg@halperinlaw.net
        mmurray@halperinlaw.net

 Counsel to the Plan Administrator
Case 20-43597   Doc 2028   Filed 12/03/21 Entered 12/03/21 10:06:16   Main Document
                                      Pg 4 of 7


                                    Schedule 1

                            Schedule of Reduced Claims
                   Case 20-43597                Doc 2028        Filed 12/03/21 Entered 12/03/21 10:06:16                                                   Main Document
                                                                           Pg 5 of 7
    Exhibit A
    Briggs & Stratton Corp., et al.




                                                                                                                                                                                        Basis for
                                                      Case                                      Claim                         Asserted                Modified Claim Amount and         Proposed
                    Claimant Name and Address        Number             Debtor Name            Number   Date Filed    Claim Amount and Priority                Priority                Modification
 1) Burns White LLC                                 20-43597   Briggs & Stratton Corporation    1616    10/7/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                  Administrative:           $0.00   Administrative:         $0.00
    48 26th Street                                                                                                Priority:                 $0.00   Priority:               $0.00
    Pittsburgh, PA 15212                                                                                          Unsecured:            $2,527.50   Unsecured:            $427.50
                                                                                                                  Total:                $2,527.50   Total:                $427.50


 2) Butler Bros. Supply Division, LLC               20-43597   Briggs & Stratton Corporation    307     8/21/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                  Administrative:           $0.00   Administrative:         $0.00
    Butler Bros.                                                                                                  Priority:                 $0.00   Priority:               $0.00
    PO Box 1375                                                                                                   Unsecured:           $28,429.16   Unsecured:         $26,800.96
    Lewiston, ME 04240                                                                                            Total:               $28,429.16   Total:             $26,800.96


 3) Carling Technologies, Incorporated              20-43597   Briggs & Stratton Corporation    298     8/28/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                  Administrative:           $0.00   Administrative:         $0.00
    60 Johnson Avenue                                                                                             Priority:                 $0.00   Priority:               $0.00
    Plainville, CT 06062-117                                                                                      Unsecured:           $14,179.65   Unsecured:          $9,712.25
                                                                                                                  Total:               $14,179.65   Total:              $9,712.25


 4) Cetrulo, Llp                                    20-43597   Briggs & Stratton Corporation    1976    10/6/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                  Administrative:           $0.00   Administrative:         $0.00
    2 Seaport Ln Ste 1000                                                                                         Priority:                 $0.00   Priority:               $0.00
    Boston, MA 02210-2037                                                                                         Unsecured:           $56,566.67   Unsecured:         $15,947.56
                                                                                                                  Total:               $56,566.67   Total:             $15,947.56


 5) Champion Laboratories Inc.                      20-43597   Briggs & Stratton Corporation    228     8/14/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                  Administrative:           $0.00   Administrative:         $0.00
    Jennifer Brakie                                                                                               Priority:                 $0.00   Priority:               $0.00
    230 E Walnut                                                                                                  Unsecured:           $23,647.68   Unsecured:         $17,478.72
    Albion, IL 62806                                                                                              Total:               $23,647.68   Total:             $17,478.72


 6) Consolidated Truck and Caster                   20-10575   Billy Goat Industries, Inc.       1      7/23/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                  Administrative:           $0.00   Administrative:         $0.00
    2254 S Vandeventer Ave                                                                                        Priority:                 $0.00   Priority:               $0.00
    St Louis, MO 63110                                                                                            Unsecured:           $45,931.00   Unsecured:         $43,434.07
                                                                                                                  Total:               $45,931.00   Total:             $43,434.07


 7) Daihatsu Motor Co., Ltd.                        20-43597   Briggs & Stratton Corporation    1488    10/6/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                  Administrative:           $0.00   Administrative:         $0.00
    1−1, Daihatsu−Cho                                                                                             Priority:                 $0.00   Priority:               $0.00
    Ikeda City, Osaka 563-8651                                                                                    Unsecured:           $54,324.04   Unsecured:         $11,874.55
    Japan                                                                                                         Total:               $54,324.04   Total:             $11,874.55


 8) Easter Seals Middle Georgia, Inc.               20-43597   Briggs & Stratton Corporation    353     9/3/2020 Secured:                   $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                 Administrative:            $0.00   Administrative:         $0.00
    PO Box 847                                                                                                   Priority:                  $0.00   Priority:               $0.00
    Dublin, GA 31040                                                                                             Unsecured:            $25,185.26   Unsecured:         $23,405.77
                                                                                                                 Total:                $25,185.26   Total:             $23,405.77


 9) Edward H. Wolf and Sons, Inc.                   20-43597   Briggs & Stratton Corporation    1478    10/6/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                  Administrative:           $0.00   Administrative:         $0.00
    Attn Laura E. OGorman                                                                                         Priority:                 $0.00   Priority:               $0.00
    143 S. Main Street, Third Floor                                                                               Unsecured:           $36,997.78   Unsecured:         $32,862.24
    West Bend, WI 53095                                                                                           Total:               $36,997.78   Total:             $32,862.24


10) Gates Corporation                               20-10575   Billy Goat Industries, Inc.      101     10/2/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                  Administrative:           $0.00   Administrative:         $0.00
    3040 Cravens Rd                                                                                               Priority:                 $0.00   Priority:               $0.00
    Poplar Bluff, MO 63901-8649                                                                                   Unsecured:           $12,918.03   Unsecured:         $12,423.39
                                                                                                                  Total:               $12,918.03   Total:             $12,423.39


11) Heartthrob Exhaust Inc                          20-43597   Briggs & Stratton Corporation    232     8/17/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                  Administrative:           $0.00   Administrative:         $0.00
    60819 US Hwy 12                                                                                               Priority:                 $0.00   Priority:               $0.00
    Litchfield, MN 55355-5227                                                                                     Unsecured:            $1,399.50   Unsecured:            $107.50
                                                                                                                  Total:                $1,399.50   Total:                $107.50
                  Case 20-43597                   Doc 2028        Filed 12/03/21 Entered 12/03/21 10:06:16                                                   Main Document
                                                                             Pg 6 of 7
    Exhibit A
    Briggs & Stratton Corp., et al.




                                                                                                                                                                                          Basis for
                                                        Case                                      Claim                         Asserted                Modified Claim Amount and         Proposed
                      Claimant Name and Address        Number             Debtor Name            Number   Date Filed    Claim Amount and Priority                Priority                Modification
12) Hydro-Gear Limited Partnership                    20-43597   Briggs & Stratton Corporation    1596    12/10/2020 Secured:                 $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                     Administrative:          $0.00   Administrative:         $0.00
    Attn John R. Obiala                                                                                              Priority:                $0.00   Priority:               $0.00
    Vedder Price P.C.                                                                                                Unsecured:         $276,315.62   Unsecured:        $183,293.24
    222 North LaSalle Street, Suite 2600                                                                             Total:             $276,315.62   Total:            $183,293.24
    Chicago, IL 60601

13) Indak Manufacturing Corporation                   20-43597   Briggs & Stratton Corporation     13     8/13/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                    Administrative:           $0.00   Administrative:         $0.00
    1915 Techny Road                                                                                                Priority:                 $0.00   Priority:               $0.00
    Northbrook, IL 60062-0343                                                                                       Unsecured:          $314,988.08   Unsecured:         $95,432.08
                                                                                                                    Total:              $314,988.08   Total:             $95,432.08


14) Intelligent Tool Corp                             20-43597   Briggs & Stratton Corporation    1351    9/23/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                    Administrative:        $621.59    Administrative:      $415.91
    Patrick Godwin                                                                                                  Priority:                 $0.00   Priority:               $0.00
    1151 Biscayne Dr                                                                                                Unsecured:            $8,504.14   Unsecured:          $7,046.06
    Concord, NC 28027                                                                                               Total:                $9,125.73   Total:              $7,461.97


15) Julian Electric, Inc.                             20-43597   Briggs & Stratton Corporation    150     8/10/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                    Administrative:           $0.00   Administrative:         $0.00
    15706 W. 147th St                                                                                               Priority:                 $0.00   Priority:               $0.00
    Homer Glen, IL 60491                                                                                            Unsecured:          $201,626.45   Unsecured:         $72,838.10
                                                                                                                    Total:              $201,626.45   Total:             $72,838.10


16) Kastle Waterjet LLC.                              20-10575   Billy Goat Industries, Inc.       12      8/5/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                    Administrative:           $0.00   Administrative:         $0.00
    1110 SE Broadway B                                                                                              Priority:                 $0.00   Priority:               $0.00
    Lees Summit, MO 64081                                                                                           Unsecured:              $777.90   Unsecured:            $537.90
                                                                                                                    Total:                  $777.90   Total:                $537.90


17) Ken Cook Company                                  20-43597   Briggs & Stratton Corporation    271     8/18/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                    Administrative:           $0.00   Administrative:         $0.00
    2855 S Calhoun Rd                                                                                               Priority:                 $0.00   Priority:               $0.00
    New Berlin, WI 53151-3515                                                                                       Unsecured:           $25,091.87   Unsecured:         $24,047.97
                                                                                                                    Total:               $25,091.87   Total:             $24,047.97


18) Kendrion (Shelby) Inc.                            20-43597   Briggs & Stratton Corporation    274     8/18/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                    Administrative:           $0.00   Administrative:         $0.00
    DeLon Hoffa                                                                                                     Priority:                 $0.00   Priority:               $0.00
    1100 Airport Road                                                                                               Unsecured:           $37,689.00   Unsecured:         $32,937.00
    Shelby, NC 28150                                                                                                Total:               $37,689.00   Total:             $32,937.00


19) Lafrance Corp                                     20-43597   Briggs & Stratton Corporation    281     8/19/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                    Administrative:           $0.00   Administrative:         $0.00
    Thomas J. Sheehan                                                                                               Priority:                 $0.00   Priority:               $0.00
    One Lafrance Way                                                                                                Unsecured:           $20,487.19   Unsecured:         $20,356.95
    PO Box 5002                                                                                                     Total:               $20,487.19   Total:             $20,356.95
    Concordville, PA 19331

20) Mahle Letrika Usa                                 20-43597   Briggs & Stratton Corporation    358      9/3/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                    Administrative:           $0.00   Administrative:         $0.00
    4814 American Rd                                                                                                Priority:                 $0.00   Priority:               $0.00
    Rockford, IL 61109-2640                                                                                         Unsecured:           $88,579.50   Unsecured:         $50,227.88
                                                                                                                    Total:               $88,579.50   Total:             $50,227.88


21) Marian Milwaukee Inc.                             20-43597   Briggs & Stratton Corporation     1      7/21/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                    Administrative:           $0.00   Administrative:         $0.00
    N51W13251 Brahm Ct                                                                                              Priority:                 $0.00   Priority:               $0.00
    Menomonee Falls, WI 53051-7039                                                                                  Unsecured:           $46,331.00   Unsecured:         $22,731.00
                                                                                                                    Total:               $46,331.00   Total:             $22,731.00


22) Max Tool Inc                                      20-43597   Briggs & Stratton Corporation    1144    9/18/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                    Administrative:           $0.00   Administrative:         $0.00
    Tammy Nelson, Accounts Receivable                                                                               Priority:                 $0.00   Priority:               $0.00
    119B Citation Ct                                                                                                Unsecured:           $64,847.91   Unsecured:         $49,678.12
    Birmingham, AL 35209-6306                                                                                       Total:               $64,847.91   Total:             $49,678.12
                 Case 20-43597                   Doc 2028        Filed 12/03/21 Entered 12/03/21 10:06:16                                                   Main Document
                                                                            Pg 7 of 7
    Exhibit A
    Briggs & Stratton Corp., et al.




                                                                                                                                                                                         Basis for
                                                       Case                                      Claim                         Asserted                Modified Claim Amount and         Proposed
                     Claimant Name and Address        Number             Debtor Name            Number   Date Filed    Claim Amount and Priority                Priority                Modification
23) Misumi USA Inc.                                  20-43597   Briggs & Stratton Corporation    220     8/12/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                   Administrative:           $0.00   Administrative:         $0.00
    1475 E Woodfield Road, Ste 1300                                                                                Priority:                 $0.00   Priority:               $0.00
    Schaumburg, IL 60173                                                                                           Unsecured:            $1,542.96   Unsecured:          $1,087.56
                                                                                                                   Total:                $1,542.96   Total:              $1,087.56


24) Packaging Solutions, Inc.                        20-43597   Briggs & Stratton Corporation    258     8/25/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                   Administrative:     $157,515.64   Administrative:         $0.00
    c/o Hanson & Payne, LLC                                                                                        Priority:                 $0.00   Priority:               $0.00
    740 N. James Lovell St.                                                                                        Unsecured:          $145,074.96   Unsecured:        $145,074.96
    Milwaukee, WI 53233                                                                                            Total:              $302,590.60   Total:            $145,074.96


25) Pennsylvania Department of Revenue               20-10575   Billy Goat Industries, Inc.      130     1/12/2021 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                   Administrative:           $0.00   Administrative:         $0.00
    Bankruptcy Division                                                                                            Priority:            $98,604.92   Priority:          $78,772.00
    PO Box 280946                                                                                                  Unsecured:            $1,296.00   Unsecured:          $1,296.00
    Harrisburg, PA 17128-0946                                                                                      Total:               $99,900.92   Total:             $80,068.00


26) Pieper Electric Inc                              20-43597   Briggs & Stratton Corporation    542     9/14/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                   Administrative:           $0.00   Administrative:         $0.00
    5070 N 35Th St                                                                                                 Priority:                 $0.00   Priority:               $0.00
    Milwaukee, WI 53209-5302                                                                                       Unsecured:           $25,502.03   Unsecured:         $19,849.63
                                                                                                                   Total:               $25,502.03   Total:             $19,849.63


27) Sandler Travis & Rosenberg, P.A.                 20-43597   Briggs & Stratton Corporation    445     9/1/2020 Secured:                   $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                  Administrative:            $0.00   Administrative:         $0.00
    Mano Howard                                                                                                   Priority:                  $0.00   Priority:               $0.00
    1000 NW 57th Court, Ste 600                                                                                   Unsecured:            $10,193.38   Unsecured:          $8,775.88
    Miami, FL 33126                                                                                               Total:                $10,193.38   Total:              $8,775.88


28) Smiths Hydraulic Inc                             20-43597   Briggs & Stratton Corporation    403     9/9/2020 Secured:                   $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                  Administrative:            $0.00   Administrative:         $0.00
    4643 US Hwy 280                                                                                               Priority:                  $0.00   Priority:               $0.00
    Claxton, GA 30417                                                                                             Unsecured:            $41,595.00   Unsecured:         $39,814.73
                                                                                                                  Total:                $41,595.00   Total:             $39,814.73


29) Techniplas US, LLC                               20-43597   Briggs & Stratton Corporation    925     9/15/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                   Administrative:           $0.00   Administrative:         $0.00
    Nick Krzynski, Controller                                                                                      Priority:                 $0.00   Priority:               $0.00
    N44 W33341 Watertown Plank Road                                                                                Unsecured:          $149,211.49   Unsecured:        $124,446.24
    Nashotah, WI 53058                                                                                             Total:              $149,211.49   Total:            $124,446.24


30) The Red Flag Group Inc                           20-43597   Briggs & Stratton Corporation     36     7/31/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                   Administrative:           $0.00   Administrative:         $0.00
    1230 W Washington St Suite 205 Papago Butt                                                                     Priority:                 $0.00   Priority:               $0.00
    Tempe, AZ 19801                                                                                                Unsecured:           $56,200.00   Unsecured:         $11,200.00
                                                                                                                   Total:               $56,200.00   Total:             $11,200.00


31) Tuff Torq Corporation                            20-10575   Billy Goat Industries, Inc.       60     9/22/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                   Administrative:           $0.00   Administrative:         $0.00
    5675 Commerce Blvd                                                                                             Priority:                 $0.00   Priority:               $0.00
    Morristown, TN 37814-1048                                                                                      Unsecured:           $70,603.38   Unsecured:         $66,450.24
                                                                                                                   Total:               $70,603.38   Total:             $66,450.24


32) United Packaging, Inc.                           20-43597   Briggs & Stratton Corporation    994     10/1/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                   Administrative:           $0.00   Administrative:         $0.00
    PO Box 8                                                                                                       Priority:                 $0.00   Priority:               $0.00
    Crosby, MN 56441                                                                                               Unsecured:            $9,347.00   Unsecured:          $3,344.00
                                                                                                                   Total:                $9,347.00   Total:              $3,344.00


33) Wiscraft, Inc. d/b/a Beyond Vision               20-43597   Briggs & Stratton Corporation    997     10/1/2020 Secured:                  $0.00   Secured:                $0.00 Partially satisified.
                                                                                                                   Administrative:      $14,079.50   Administrative:    $10,429.49
    Attn Dennis Martin, CFO                                                                                        Priority:                 $0.00   Priority:               $0.00
    5316 W. State Street                                                                                           Unsecured:          $113,204.28   Unsecured:        $103,731.76
    Milwaukee, WI 53208-2620                                                                                       Total:              $127,283.78   Total:            $114,161.25
